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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

 

INTERPROFESSION DU GRUYERE, and
SYNDICAT INTERPROFESSIONEL DU GRUYERE,

Plaintiffs,
-against-

INTERNATIONAL DAIRY FOODS ASSOCIATION,
U.S. DAIRY EXPORT COUNCIL, ATALANTA
CORPORATION, and INTERCIBUS INC.,

Defendants

 

 

COMPLAINT

Case No.

Plaintiffs, Interprofession du Gruyére and Syndicat Interprofessionel du Gruyére,

by their undersigned attorneys, Fross Zelnick Lehrman & Zissu, P.C. and Jennison &

Shultz, P.C., for their Complaint against defendants, International Dairy Foods

Association, U.S. Dairy Export Council, Atalanta Corporation, and Intercibus Inc., allege

as follows:
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1. GRUYERE cheese — “widely considered among the greatest of all
cheeses” — has been made in the mountainous GRUYERE region of western Switzerland
and east-central France since 1115 AD. It is painstakingly made from local, natural
ingredients using traditional methods that assure the connection between the geographic
region and the quality and characteristics of the final product. The entire cheese-making
process is subject to certification by Plaintiffs. Cheese made in Wisconsin cannot
duplicate the unique flavor of genuine GRUYERE cheese made in Switzerland or France.

2. Plaintiffs applied to register GRUYERE as a certification mark. Although
the United States Patent and Trademark Office approved the application, Defendants filed
Oppositions to Plaintiffs’ application.

3. This is a civil action under 15 U.S.C. § 1071(b) challenging the August 5,
2020 decision of the Trademark Trial and Appeal Board (“the Board”) of the United
States Patent and Trademark Office, which wrongly held that Plaintiff's certification

mark is a generic term.

PARTIES, JURISDICTION AND VENUE
4, Plaintiff Interprofession du Gruyére is a corporation organized and
existing under the laws of the Switzerland, located and doing business at La Maison du
Gruyére, Pringy, Switzerland 1662.
5. Plaintiff Syndicat Interprofessionel Du Gruyére is a corporation organized
and existing under the law of France, located and doing business at Maison des

Agriculteurs, Vesoul, France 70004.
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6. Defendant U.S. Dairy Export Council is a Washington, DC non-profit
corporation located and doing business at 2107 Wilson Blvd, Suite 600, Arlington, VA
22201. It is a trade association.

7. Defendant International Dairy Foods Association is a Delaware
corporation, located and doing business at 1250 H St. NW, Suite 900, Washington, DC
20005. It is a trade association.

8. Defendant Atalanta Corporation is a New York corporation located and
doing business at 1 Atalanta Plaza, Elizabeth, NJ 07206. It is an importer and seller of
food products, including cheeses.

9. Defendant Intercibus Inc. is a Florida corporation with an address at P.O.
Box 1907, Marco Island Florida, 34146. It is in the cheese business.

10. This Court has jurisdiction over the subject matter of this action under
Section 21(b) of the Trademark Act of 1946, as amended, 15 U.S.C. § 1071(b), which
provides that a party dissatisfied with a final decision of the Board may institute a civil
action in a federal district court challenging the decision. This Court also has subject

matter jurisdiction under 28 U.S.C. § 1331.

11. Venue is proper in this district under 15 U.S.C. § 1071(b)(4).
FACTUAL BACKGROUND
12. Since 1115 AD, GRUYERE cheese has been made in the mountainous

GRUYERE region of western Switzerland and east-central France by traditional
methods, passed down from generation to generation, using only local ingredients. These
ingredients and methods, along with expertise of its makers, give GRUYERE cheese its

unique, inimitable, and sought-after flavor and impeccable quality. The procedure for
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making GRUYERE cheese is precisely specified and strictly controlled. Three groups in
the region are involved: dairy farmers (who produce the milk), cheesemakers (who turn
the milk into cheese), and “affineurs” (who age or mature the cheese). All three groups
follow each prescribed step to the letter.

13. In Switzerland, use of the GRUYERE mark is certified by Plaintiff
Interprofession du Gruyere. In France, use of the mark is certified by Plaintiff Syndicat
Interprofessionel du Gruyére. Both Plaintiffs have issued formal specifications that
codify the centuries-old cheese-making practices.

14. Several factors contribute to the flavor, texture, color, and aroma of
GRUYERE cheese. The first is the milk from which the cheese is made. The cows are fed
solely on natural forage — fresh grass in summer and hay in winter, with no additives or
silage. No antibiotics or growth hormones may be used. The milk is never pasteurized.
The alpine grasses and the microorganisms present in raw milk impart flavor to the
cheese. Pasteurization, which involves heating the milk to high temperatures, would
destroy these flavors.

15. GRUYERE cheese produced by one of the members of Interprofession
du Gruyere won the title “Best Cheese In The World” at the World Cheese Awards four
times: in 1992, 2002, 2005 and 2015, the only cheese ever to have done so.

16. On September 17, 2015, Plaintiffs filed, under Section 4 of the Lanham
Act, 15 U.S.C. § 1054, an Application to register GRUYERE as a certification mark for

cheese. The application was assigned Serial No. 86759759 (the “Application”).
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17. The Application was approved by the Examining Division of the United
States Patent and Trademark Office, and the Application was published for Opposition on
September 27, 2016.

18. Defendants then filed in the Board notices of opposition to the Application.
The bases for the notices of opposition were that (i) Plaintiffs failed to exercise control
over the certification mark; and (ii) GRUYERE is a generic term for cheese. The
proceedings were consolidated.

19, Notably, although six other entities requested extensions of time to
oppose, they either never opposed or quickly dismissed their oppositions. In addition,
neither the Wisconsin Milk Marketing Board, which promotes cheese made in
Wisconsin, nor the Wisconsin Cheese Makers Association, which runs the World
Championship Cheese Contest, requested extensions of time to oppose the Application.
They obviously feel they have no need to use GRUYERE for cheese made in Wisconsin.
Defendants, too, have no need to use GRUYERE. Apparently, by arguing that
GRUYERE is generic, they hope to take a free ride on the centuries-old goodwill of
GRUYERE cheese and to use the name GRUYERE on cheese made in Wisconsin,
Germany, or someplace else. Thus, Defendants seek a license to mislead, deceive, and
confuse consumers.

20. In the consolidated proceedings, Defendants had the burden of proof.
Defendants had the burden of showing by persuasive and clear evidence that GRUYERE
is a generic term. That is, to prevail, Defendants were required to show that GRUYERE
has “lost all significance as a mark.” Tea Bd. of India v. Rep. of Tea, Inc., 80 U.S.P.Q.2d

1881, 1888 (T.T.A.B. 2006).
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21. Although Defendants had the burden of proving public perception, and
although Defendants contended that generic use of GRUYERE exists, Defendants failed
to show how extensive the alleged generic use is or was, and what impact it has had on
public perception. Defendants relied on the alleged sale of Wisconsin “Gruyere” and
other non-Swiss/non-French “Gruyere” cheese, but Defendants failed to show how much
of these products are sold in the US, what their market share is, and what impact they
have had on the US public.

22. In fact, no less an authority than The Encyclopedia Britannica defines
GRUYERE as follows: “Gruyére, hard cow’s-milk cheese produced in the vicinity of La
Gruyére in southern Switzerland and in the Alpine Comté and Savoie regions of eastern
France.” And the Oxford Companion to Cheese states that GRUYERE is an appellation

of controlled origin for “a cheese from Switzerland.”

THE BOARD’S ERRONEOUS DECISION

23. Following a trial and argument of counsel on June 27, 2019, the Board on
August 5, 2020, issued a decision holding that GRUYERE is generic. The Board’s
decision is erroneous for numerous reasons. First the Board’s decision does not
acknowledge its own test for whether a certification mark is generic. The test is whether,
at the time of trial, the term has “lost all significance as a mark.” Nowhere in its decision
does the Board mention this legal standard, and nowhere does it say that GRUYERE has
“lost all significance as a mark.”

24. Second, the Board erred in purporting to find that consumers at some point
in the past understood GRUYERE “‘o refer to a type of cheese regardless of its country

of origin or any particular certification standards.” The Board’s does not say when
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consumers had this understanding, or what percentage of consumers held this
understanding, or whether the number of such consumers constituted a majority.

25. Third, the Board’s decision makes no effort to determine what proportion
of the public currently regards GRUYERE as a generic term (that is, a type of cheese that
can be made anywhere), as opposed to cheese made in Switzerland or France. In other
words, the Board makes no finding that all consumers, a majority of consumers, a
significant minority, or some other portion of consumers currently regard it as a generic
term.

26. Fourth, the Board improperly put the burden of proof on Plaintiffs. For
example, Plaintiffs showed at trial that they had written to a number of retailers that sold
non-Swiss/non-French cheese under the mark Gruyére, and as a result these retailers
stopped their generic use. The Board’s decision asserts that Plaintiffs “have not identified
the volume or market share of non-Swiss and non-French cheese privately labeled as
‘gruyere’ these retailers commanded.” This puts the burden of proof on Plaintiffs, when
in fact Defendants had the burden of showing the extent of sale of non-Swiss/non-French
“Gruyere” cheese, and its impact on consumer perception.

27. Fifth, the Board suggests that if sellers of Wisconsin “Gruyere” cheese
changed the name of the cheese at the request of Plaintiffs and to avoid litigation, their
decision to change of the name somehow does not help Plaintiffs. The record is devoid of
evidence that these sellers changed the name to avoid litigation. Further, whatever their
motivation, if these sellers have discontinued use of “Gruyere” as a generic term, the

result is that the public will not be exposed to such generic use, and this helps Plaintiffs.
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28. Sixth, the Board’s decision contains factual errors, including asserting that
certain cheese was made in Wisconsin, when in fact it was genuine Swiss GRUYERE
cheese.

29. Seventh, the Board’s decision mistakenly relies on FDA “standards of
identity” for certain cheese food products. The Board quotes 21 C.F.R. § 133.10 for the
proposition that FDA standards “prescribe the name for each such food. The act requires
that this name appear on the label.” But the phrase “each such food” in the FDA
regulations refers to “foods made in part from cheese, including pasteurized process
cheese; pasteurized process cheese with fruits, vegetables, or meats; pasteurized blended
cheese; pasteurized process cheese food; pasteurized process cheese spread, and related
foods.” (Emphasis added). None of these categories of “foods made in part from cheese”
is involved here.

30. There is no requirement that any cheese maker use the name GRUYERE,
and not even Defendants claimed that FDA regulations require any U.S. cheese
manufacturer to use “GRUYERE” on labelling for cheese. This is confirmed in Section
343(g) of the Food, Drug, and Cosmetics Act, 21 U.S.C. § 343(g). Indeed, many cheese
makers use names such as “GRAND CRU” or “Alpine style,” all without objection from
the FDA. The Board does not cite a single case where the FDA has required anyone to
use “Gruyére” on cheese. Further, the FDA standards of identity are inconsistent. Some
standards of identity have a provision called “nomenclature,” in which the FDA specifies
“the name of the food” but other standards do not have the “nomenclature” provision. For

example, the standards for “asiago,” “colby,” and “parmesan” do not specify the “name
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of the food.” This inconsistency confirms that little weight should be given to the FDA
regulations,

31. Further, the U.S. Supreme Court has held that FDA regulations do not
preclude a private right of action for infringement (Pom Wonderful LLC v. Coca-Cola
Co., 573 U.S. 102, 110 USPQ2d 1877, 1884 (2014)), and the Board itself has held that
Treasury Department regulations concerning names of alcoholic beverages are not
binding on the Board on the issue of genericness because the Treasury Department has
“no authority to make determinations as to trademark registrability under the Trademark
Act.”

32. Eighth, the Board made evidentiary decisions based on rules it enunciated
in a case decided ten months after the GRUYERE consolidated oppositions were fully
briefed and argued.

“ 33. Accordingly, the Board’s decision in the GRUYERE consolidated
oppositions should be reversed and the Plaintiffs’ GRUYERE certification mark should

be registered.

WHEREFORE, Plaintiff requests this Court to enter judgment:

(a) Reversing the Decision of the Board, dated August 5, 2020, and ordering
the United States Patent and Trademark Office to register the certification mark in
Application Ser. No. 86759759;

(b) | Awarding Plaintiffs such other and further relief as this Court may deem

just and proper.

Dated: October 6, 2020 By: tL oh
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